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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of California

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: Cr.S-05-451 JAM
               DEMORIEA CORNELL BARKER
                                                                     )   USM No: 16424-097
Date of Previous Judgment: 11/16/2006                                )   DWIGHT M. SAMUEL
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 121           months is reduced to 120 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:       29               Amended Offense Level:                                                    27
Criminal History Category:     IV              Criminal History Category:                                                IV
Previous Guideline Range: 121    to 151 months Amended Guideline Range:                                        120            to 125   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 11/16/2006                   shall remain in effect.
IT IS SO ORDERED.

Order Date:         May 14, 2008                                                                /s/ John A. Mendez
                                                                                                  Judge’s signature


Effective Date:                                                                             Hon. John A. Mendez
                     (if different from order date)                                             Printed name and title
